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                        EXHIBIT H
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 MIKHAIL FRIDMAN, PETR AVEN, and
 GERMAN KHAN,

                          Plaintiffs,

 v.                                                          Civil Action No. 1:17-2041-RJL

 BEAN LLC a/k/a FUSION GPS, and GLENN
 SIMPSON,

                          Defendants.


      PLAINTIFFS’ THIRD SUPPLEMENTAL RESPONSES AND OBJECTIONS TO
               DEFENFDANTS’ FIRST SET OF INTERROGATORIES

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and the Local Rules

of the District Court for the District of Columbia, Plaintiffs Mikhail Fridman, Petr Aven, and

German Khan hereby supplement their November 11, 2019 initial responses and objections

(“Initial Responses”) to Defendants’ First Set of Interrogatories, dated October 11, 2019 (each an

“Interrogatory,” and together, the “Interrogatories”), as follows:

                          GENERAL STATEMENT AND OBJECTIONS

       1.        These supplemental responses and objections (each a “Response” and together the

“Responses”) are being provided based upon documents and information presently available and

known to Plaintiffs.

       2.        All objections, responses, reservations of rights, and definitions from Plaintiffs’

Initial Responses are applicable to these supplemental Responses and incorporated by reference as

though fully set forth.

       3.        In supplementing their Responses, Plaintiffs are responding only based in

information within Plaintiffs’ possession, custody, or control. As indicated in Plaintiffs’ Initial
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Responses, Plaintiffs object to Interrogatories that seek or are intended to seek information within

the possession, custody, or control of non-parties.

       4.       Plaintiffs continue to reserve all rights to further supplement, amend, modify, or

clarify these Responses. If there is no supplemental response to specific Interrogatories at this

time, such specific Requests are not included below.

       5.       The foregoing General Statements and Objections are incorporated by reference

in each of the specific Responses appearing below.

                    SUPPLEMENTAL RESPONSES AND OBJECTIONS

INTERROGATORY No. 1

        Identify all persons who are believed or known by you to have information concerning any
of the allegations in the Complaint, and for each state the subject matter of their knowledge.

RESPONSE TO INTERROGATORY No. 1

      The persons likely to have information concerning the allegations in the Amended
Complaint are as follows:

•   Mikhail Fridman
    c/o Thomas A. Clare, P.C.
    Clare Locke LLP
    10 Prince Street
    Alexandria, VA 22314

       Mr. Fridman has knowledge concerning the falsity of the defamatory allegations contained

in Company Intelligence Report 112 (“CIR 112”) and the damages caused by Defendants’

publication of the defamatory statements at issue.

•   Petr Aven
    c/o Thomas A. Clare, P.C.
    Clare Locke LLP
    10 Prince Street
    Alexandria, VA 22314

       Mr. Aven has knowledge concerning the falsity of the defamatory allegations contained in



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CIR 112 and the damages caused by Defendants’ publication of the defamatory statements at issue.

•   German Khan
    c/o Thomas A. Clare
    Clare Locke LLP
    10 Prince Street
    Alexandria, VA 22314

       Mr. Khan has knowledge concerning the falsity of the defamatory allegations contained in

CIR 112 and the damages caused by Defendants’ publication of the defamatory statements at issue.

•   Glenn Simpson
    Fusion GPS
    1700 Connecticut Avenue, NW, Suite 400
    Washington, DC 20006
    c/o Joshua A. Levy
    Levy Firestone Muse LLP
    1701 K Street, NW, Suite 350
    Washington, DC 20006

       Upon information and belief, Mr. Simpson has knowledge concerning the publication of

the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Peter Fritsch
    Fusion GPS
    1700 Connecticut Avenue, NW, Suite 400
    Washington, DC 20006
    c/o Joshua A. Levy
    Levy Firestone Muse LLP
    1701 K Street, NW, Suite 350
    Washington, DC 20006

       Upon information and belief, Mr. Fritsch has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Jacob Berkowitz
    c/o Joshua A. Levy
    Levy Firestone Muse LLP
    1701 K St. NW, Suite 350


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    Washington, DC 20006

       Upon information and belief, Mr. Berkowitz has knowledge concerning the publication of

the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Jason Felch
    c/o Joshua A. Levy
    Levy Firestone Muse LLP
    1701 K St. NW, Suite 350
    Washington, DC 20006

       Upon information and belief, Mr. Felch has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Nellie Ohr
    c/o Joshua Berman, Esq.
    Clifford Chance, LLP
    2001 K Street NW
    Washington, DC 20006

       Upon information and belief, Mr. Ohr has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Christopher Steele
    Orbis Business Intelligence Ltd.
    9-11 Grosvenor Gardens
    London SW1W 0BD
    United Kingdom

       Upon information and belief, Mr. Steele has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Christopher Burrows
    Orbis Business Intelligence Ltd.


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    9-11 Grosvenor Gardens
    London SW1W 0BD
    United Kingdom

       Upon information and belief, Mr. Burrows has knowledge concerning the publication of

the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Democratic National Committee
    c/o Graham M. Wilson
    Perkins Coie LLP
    700 13th Street, NW, Suite 800
    Washington, DC 20005

       Upon information and belief, a representative of the Democratic National Committee has

knowledge concerning the publication of the defamatory allegations contained in CIR 112 and the

Defendants’ fault in publishing those defamatory allegations.

•   HFACC, Inc.
    c/o Graham M. Wilson
    Perkins Coie LLP
    700 13th Street, NW, Suite 800
    Washington, DC 20005

       Upon information and belief, a representative of HFACC, Inc. has knowledge concerning

publication of the defamatory allegations contained in CIR 112 and the Defendants’ fault in

publishing those defamatory allegations.

•   Marc Elias
    Perkins Coie LLP
    700 13th Street, NW, Suite 800
    Washington, DC 20005
    c/o Stephen A. Best
    Brown Rudnick LLP
    601 Thirteenth St NW, Suite 600
    Washington, DC 20005

       Upon information and belief, Mr. Elias has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those


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defamatory allegations.

•   Michael Sussmann
    Perkins Coie LLP
    700 13th Street, NW, Suite 800
    Washington, DC 20005
    c/o Stephen A. Best
    Brown Rudnick LLP
    601 Thirteenth St NW, Suite 600
    Washington, DC 20005

       Upon information and belief, Mr. Sussmann has knowledge concerning the publication of

the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Robert Mook
    Perkins Coie LLP
    700 13th Street, NW, Suite 800
    Washington, DC 20005

       Upon information and belief, Mr. Mook has knowledge concerning the publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Igor Danchenko
    c/o Mark Schamel
    Womble Bond Dickinson (US) LLP
    1200 Nineteenth Street, N.W. Washington, DC 20036

       Upon information and belief, Mr. Danchenko has knowledge concerning the publication

of the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations

•   David Kramer
    c/o Marcos D. Jimenez, Esq.
    Marcos D. Jimenez P.A.
    255 Alhambra Circle, Suite 800
    Coral Gables, FL 33134

       Upon information and belief, Mr. Kramer has knowledge concerning the publication of the


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defamatory allegations contained in CIR 112.

•   Jonathan Winer
    Middle East Institute
    1763 N Street, NW
    Washington, DC 20036
    c/o Lee Wolosky
    Jenner & Block LLP
    919 Third Avenue
    New York, NY 10022-3908

       Upon information and belief, Mr. Winer has knowledge concerning the publication of the

defamatory allegations contained in CIR 112.

•   Bruce Ohr
    U.S. Department of Justice
    950 Pennsylvania Avenue, NW
    Washington, DC 20530

       Upon information and belief, Mr. Ohr has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Edward Baumgartner
    c/o Edward Austin Limited
    4 Old Park Lane
    London W1K 1QW
    United Kingdom

       Upon information and belief, Mr. Baumgartner has knowledge concerning publication of

the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Sir Andrew Wood
    c/o RPC
    Tower Bridge House
    St Katharine’s Way
    London E1W 1AA
    United Kingdom

       Upon information and belief, Sir Andrew Wood has knowledge concerning publication of


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the defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Daniel Jones
    c/o William W. Taylor III
    Zuckerman Spaeder
    1800 M Street, NW, Suite 1000
    Washington, DC 20036

       Upon information and belief, Mr. Jones has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Tracy Schmaler
    Kivvit
    1100 G Street NW, Suite 350
    Washington, DC 20005
    c/o Sara Kropf, Esq.
    Kropf Moseley PLLC
    1100 H Street NW, Suite 1220
    Washington, DC 20005

       Upon information and belief, Ms. Schmaler has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Ken Bensinger, Miriam Elder, Mark Schoofs
    BuzzFeed, Inc.
    111 E. 18th Street, 13th Floor
    New York, NY 10003 701 First Avenue

       Upon information and belief, these BuzzFeed employees have knowledge concerning

publication of the defamatory allegations contained in CIR 112 and the Defendants’ fault in

publishing those defamatory allegations.

•   Ben Smith
    The New York Times Company
    620 Eighth Avenue
    New York, NY 10018


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       Upon information and belief, Mr. Smith has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Michael Isikoff
    Yahoo! News
    701 First Avenue
    Sunnyvale, CA 94089

       Upon information and belief, Mr. Isikoff has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   David Corn
    Mother Jones
    P.O. Box 584
    San Francisco, CA 94104

       Upon information and belief, Mr. Corn has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Evan Perez, Jim Sciutto, Jake Tapper, Carl Bernstein
    CNN
    820 First Street, NE
    Washington, DC 20001

       Upon information and belief, Messrs. Perez, Sciutto, Tapper, and Bernstein have

knowledge concerning publication of the defamatory allegations contained in CIR 112 and the

Defendants’ fault in publishing those defamatory allegations.

•   Jane Mayer
    New Yorker
    1 World Trade Center
    New York, NY 10006

       Upon information and belief, Ms. Mayer has knowledge concerning publication of the



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defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   The Washington Post
    1301 K Street, NW
    Washington, DC 20071

       Upon information and belief, a representative of The Washington Post has knowledge

concerning publication of the defamatory allegations contained in CIR 112 and the Defendants’

fault in publishing those defamatory allegations.

•   The New York Times Company
    620 Eighth Avenue
    New York, NY 10018

       Upon information and belief, a representative of The New York Times has knowledge

concerning publication of the defamatory allegations contained in CIR 112 and the Defendants’

fault in publishing those defamatory allegations.

•   Eric Lichtblau
    8023 Summer Mill Ct.
    Bethesda, MD 20817

       Upon information and belief, Mr. Lichtblau has knowledge concerning publication of the

defamatory allegations contained in CIR 112 and the Defendants’ fault in publishing those

defamatory allegations.

•   Oleg Govorun
    Address Not Known

       Upon information and belief, Mr. Govorun has knowledge concerning the falsity of the

defamatory allegations contained in CIR 112.

•   Ed Rogers
    BGR Group
    601 13th Street, NW
    Washington, DC 20005



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       Upon information and belief, Mr. Rogers has knowledge concerning the falsity of the

defamatory allegations contained in CIR 112 and the damages caused by Defendants’ publication

of the defamatory statements at issue.

•   Richard Burt
    McLarty Associates
    900 17th Street, NW, Suite 800
    Washington, DC 20006

       Upon information and belief, Ambassador Burt has knowledge concerning the falsity of

the defamatory allegations contained in CIR 112 and the damages caused by Defendants’

publication of the defamatory statements at issue.

•   Alexey Sergeyevich Dundich
    See Plaintiffs’ Second Revised Initial Disclosures

       Upon information and belief, Mr. Dundich has knowledge concerning the falsity of the

defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

•   Ivan Ivanovich Kurilla
    See Plaintiffs’ Second Revised Initial Disclosures

       Upon information and belief, Mr. Kurilla has knowledge concerning the falsity of the

defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

•   Ivan Mikhailovich Vorontsov
    See Plaintiffs’ Second Revised Initial Disclosures

       Upon information and belief, Mr. Vorontsov has knowledge concerning the falsity of the

defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

•   Lyudmila Nikolayevna Podobedova
    See Plaintiffs’ Second Revised Initial Disclosures


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       Upon information and belief, Ms. Podobedova has knowledge concerning the falsity of the

defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

•   Olga Aleksandrovna Galkina
    See Plaintiffs’ Second Revised Initial Disclosures

       Upon information and belief, Ms. Galkina has knowledge concerning the falsity of the

defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

•   Sergey Vladimirovich Abyshev
    See Plaintiffs’ Second Revised Initial Disclosures

       Upon information and belief, Mr. Abyshev has knowledge concerning the falsity of the

defamatory allegations in CIR 112 and Defendants’ fault in publishing these defamatory

allegations.

INTERROGATORY No. 20

       For each element of damage that you claim in this action, including, but not limited to, the

injuries claimed at Paragraphs 10 and 33 of the Complaint, identify separately and with specificity

the complete nature of your injury, the amount of damage and how you calculate it, all facts

relating to or supporting the allegation of injury, and all documents that refer or relate to, contain

information concerning, or upon which you rely to show the damages you claim in this action.

RESPONSE TO INTERROGATORY No. 20

       Plaintiffs object to this Interrogatory as overly broad, unduly burdensome, and premature.

Subject to the foregoing objections, Plaintiffs respond as follows.

       Plaintiffs’ damages have not been computed at this time. Plaintiffs seek presumed damages

and general damages for harm to their reputations and for emotional harm, as well as punitive




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damages, in amounts to be proven at trial, but more than $75,000, together with interest and the

costs and disbursements of this action, plus reasonable attorneys’ fees. Plaintiffs have suffered

damages to their reputations, in that persons who read or saw the contents of CIR 112 were led to

understand, incorrectly, that Plaintiffs had an inappropriate relationship with Putin, engaged in

inappropriate and criminal activities such as bribery and extortion, and, based on the headline of

CIR 112, were involved in some unspecified way in a Kremlin orchestrated campaign interfere in

the 2016 U.S. presidential election. This information affected how people viewed, regarded, and

treated Plaintiffs. At trial, Plaintiffs will rely on testimony from themselves and/or third parties1

to show the wide dissemination of the defamatory statements, and how the defamatory statements

damaged Plaintiffs’ reputations, affected Plaintiffs in their personal relationships, and caused

Plaintiffs emotional stress.


    Dated: June 21, 2021                         Respectfully submitted,

                                                   /s/ Thomas A. Clare, P.C.
                                                 Thomas A. Clare, P.C. (DC Bar No. 461964)
                                                 Elizabeth M. Locke, P.C. (DC Bar No. 976552)
                                                 Joseph R. Oliveri (DC Bar No. 994029)
                                                 Andrew C. Phillips (DC Bar No. 998353)
                                                 CLARE LOCKE LLP
                                                 10 Prince Street
                                                 Alexandria, VA 22314
                                                 Tel: (202) 628-7400
                                                 tom@clarelocke.com
                                                 libby@clarelocke.com
                                                 joe@clarelocke.com
                                                 andy@clarelocke.com

                                                 Counsel for Plaintiffs Mikhail Fridman,
                                                 Petr Aven, and German Khan


1
  Those third parties include Ed Rogers and Richard Burt. To the extent Plaintiffs will present
testimony of additional third parties with respect to damages, Plaintiffs will promptly identify such
third parties.


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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the forgoing document was served by

email on all counsel of record on June 21, 2021.


   Dated: June 21, 2021                             By: /s/ Thomas A. Clare, P.C.
                                                          Thomas A. Clare, P.C.




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                                        VERIFICATION

       I, MIKHAIL FRIDMAN, am a plaintiff in the above-captioned action. I have read the

Third Supplemental Responses and Objections to Defendants’ First Set of Interrogatories dated

June 21, 2021, and know the contents thereof and, as the responses pertain to me individually, I

declare under penalty of perjury under the laws of the United States of America that they are true

and correct to my knowledge, except as to matters therein stated to be alleged on information and

belief, and as to those matters, I declare under penalty of perjury under the laws of the United

States of America that I believe them to be true as they pertain to me personally.


       Executed on ___18.06.2021_____________




                                                     Mikhail Fridman
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